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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MARIA CASTRO, individually and all
                               )
 other similarly situated persons, known
                               )
 and unknown,                  )
                               )
               Plaintiff,      )                                  Case No. 16-cv-07046
                               )
 v.                            )
                               )
 SOURCE 1 BUILDING MAINTENANCE )                            Hon. Judge Elaine E. Bucklo
 SERVICES, INC. and TIMOTHY J. )
 BERGER, individually.         )
                               )
              Defendants.      )



                          NOTICE OF VOLUNTARY DISMISSAL

        The Plaintiff, pursuant to the Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(i), and

the opposing party having neither filed an Answer or a Motion for Summary Judgment,

respectfully requests that the Court dismiss all causes of action against Defendants with prejudice.



                                               Respectfully submitted,

                                               s/ Susan J. Best

                                               One of Plaintiff’s Attorneys
                                               CONSUMER LAW GROUP, LLC
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                                 CERTIFICATE OF SERVICE



        The undersigned attorney certifies that on August 31, 2016 a copy of the foregoing Notice

of Voluntary Dismissal was filed electronically with the Clerk of the Court using CM/ECF, which

will send electronic notification of such filing to the following:


                                          Jeremy J. Glenn
                                         Cozen O’Connor
                                 123 N. Wacker Drive, Suite 1800
                                        Chicago, IL 60606
                                           312-474-7981
                                        jglenn@cozen.com




                                                              /s/ Susan J. Best




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